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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

IN RE: HOTEL TVPRA LITIGATION! _ : Case Nos. 2:22-cv-1924; 2:22-cv-2682;

: 2:22-cev-3185; 2:22-cv-3202; 2:22-cv-3256:
2:22-cv-3258; 2:22-cv-3416; 2:22-cv-3766;
2:22-cv-3767; 2:22-cv-3768; 2:22-cv-3769;
2:22-ev-3770; 2:22-cv-3771; 2:22-cv-3772;
2:22-cv-3773; 2:22-cv-3774; 2:22-cv-3776;
2:22-cv-3778; 2:22-cv-3782; 2:22-cv-3784;
2:22-cv-3786; 2:22-cv-3787; 2:22-cv-3788;
2:22-cv-3797; 2:22-cv-3799; 2:22-cv-3811;
2:22-cv-3837; 2:22-cv-3839; 2:22-cv-3844;
2:22-cv-3845; 2:22-cv-3846; 2:23-cv-1731.

Chief Judge Algenon L. Marbley

Magistrate Judge Elizabeth P. Deavers

ORDER
This matter is before this Court on Motions to Review Suggestions for Scheduling
Conference filed by Plaintiffs in each of the thirty-two above captioned cases in advance of a
December 4, 2023 conference that this Court held relating to administrative matters. (See e.g.,
L.G. v. Red Roof Inns, Inc. et al., Case No: 22-cv-1924, ECF No. 48).” In the Motions, Plaintiffs’

counsel proposes a detailed plan for administrative management of the Jn re Hotel TVPRA

' For the convenience of the parties and for administrative purposes, this Court will collectively
refer to the above captioned cases and all related cases as “Jn re Hotel TVPRA Litigation.” The
clerk is DIRECTED to file this Opinion & Order in ONLY those cases identified in the caption.
* This Court will only cite to the record of the first filed case at issue, L.G. v. Red Roof Inns, Inc.
et al., Case No: 22-cv-1924, since it is representative of the above captioned cases for the purpose
of resolving the instant motions. Identical motions have been filed in three other cases, Case Nos.
2:21-cv-4933, 2:21-cv-4934, and 2:21-cv-4935, which are more advanced in the litigation process
and were accordingly not included in the conference. The motions filed in those cases will be
addressed in a separate order.
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Litigation, given that the Judicial Panel on Multidistrict Litigation (“JPML”) previously concluded
that the litigation ought to be coordinated informally by this Court. (See e.g., id.).

During the December 4, 2023 conference, the Parties and this Court discussed how best to
manage the Jn re Hotel TVPRA Litigation, including the possibility of multidistrict litigation. At
the conclusion of the conference, this Court ordered Plaintiffs’ counsel to file a Motion for
Reconsideration with the JPML after a period of conferral between the parties. (See e.g., ECF No.

52). Accordingly, Plaintiffs’ Motions to Review Suggestions for Scheduling Conference are

DENIED AS MOOT.

IT IS SO ORDERED.

GS eZllZZ.

ALGENONWA.. MARBLEX————__
CHIEF UNITED STATES DISTRICT JUDGE

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ELIZABETH A. PRESTON DEAVERS
UNITED STATES MAGISTRATE JUDGE

DATED: January 16, 2024
